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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF OHIO
                                       EASTERN DIVISION

IN RE NATIONAL PRESCRIPTION                                )       CASE NO. 1:17-MD-2804
OPIATE LITIGATION                                          )
                                                           )       David R. Cohen
THIS DOCUMENT RELATES TO:                                  )       Randi S. Ellis
“All Cases”                                                )       Hon. David R. Herndon
                                                           )
                                                           )       FEE PANEL ORDER NO. 33
                                                           )       REGARDING ELIGIBILITY OF
                                                           )       RHODE ISLAND SUBDIVISIONS
                                                           )       FOR TEVA AND ALLERGAN
                                                           )       CONTINGENCY FEE FUNDS


           On December 18, 2023, the Fee Panel issued Fee Panel Order No. 28 (Doc. 5278)

(“FPO-28”). FPO-28 included an exhibit identifying more than 2,600 subdivisions whose

counsel timely submitted applications to the Teva and Allergan Contingency Fee Funds

(“CFFs”). Rhode Island subdivisions were not included because they were not listed in Exhibit C

and Exhibit G of the Teva and Allergan national settlement agreements.1 Therefore, the

Contingent Fee Application Coordinator did not provide CFF applications to Contact Counsel for

Rhode Island subdivisions.

           However, pursuant to the terms and conditions of the confidential Rhode Island

settlement agreements with Teva and Allergan, counsel for the Rhode Island subdivisions

became eligible to file applications for Teva and Allergan national Contingency Fee Fund



1
    Available at https://nationalopioidsettlement.com/teva-allergan-settlement-documents/

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Awards. Accordingly, Exhibit A of FPO-28 is hereby amended to include the 33 Rhode Island

subdivisions listed in the attached Exhibit A.



          IT IS SO ORDERED.

                                                       /s/   David R. Cohen
                                                             Randi S. Ellis
                                                             David R. Herndon
                                                             FEE PANEL

         Dated: March 28, 2024




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                                 Exhibit A


                  State         Political Subdivision
                   RI         BARRINGTON TOWN
                   RI             BRISTOL TOWN
                   RI         BURRILLVILLE TOWN
                   RI             Central Falls city
                   RI        CHARLESTOWN TOWN
                   RI           COVENTRY TOWN
                   RI               Cranston city
                   RI         CUMBERLAND TOWN
                   RI       EAST GREENWICH TOWN
                   RI           East Providence city
                   RI             FOSTER TOWN
                   RI          GLOCESTER TOWN
                   RI          HOPKINTON TOWN
                   RI          JAMESTOWN TOWN
                   RI           JOHNSTON TOWN
                   RI         MIDDLETOWN TOWN
                   RI        NARRAGANSETT TOWN
                   RI               Newport city
                   RI      NORTH KINGSTOWN TOWN
                   RI      NORTH PROVIDENCE TOWN
                   RI              Pawtucket city
                   RI         PORTSMOUTH TOWN
                   RI              Providence city
                   RI           RICHMOND TOWN
                   RI            SCITUATE TOWN
                   RI          SMITHFIELD TOWN
                   RI      SOUTH KINGSTOWN TOWN
                   RI            WARREN TOWN
                   RI               Warwick city
                   RI       WEST GREENWICH TOWN
                   RI        WEST WARWICK TOWN
                   RI           WESTERLY TOWN
                   RI             Woonsocket city




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